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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------X
UNITED STATES OF AMERICA
                                                                                  06cr481 (JGK)
                 -against-
                                                                                        ORDER
JASON PONDER,
                                    Defendant.
-------------------------------------------------------X

        The defendant, Jason Ponder, having been sentenced for violation of supervised

release in the above matter, shall surrender to the Metropolitan Detention Center (MDC),

in Brooklyn, New York, by 2pm on January 11, 2021. This order revises the Court’s order

of January 8, 2021 (Document 142)

SO ORDERED.

Dated: New York, New York
       January 11, 2021
                                                            __________/s/John G. Koeltl ________
                                                                     JOHN G. KOELTL
                                                            UNITED STATES DISTRICT JUDGE
